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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division

REGINA PATTON, on behalf of                        )
herself and all others similarly situated,         )
                                                   )
                Plaintiff,                         )
                                                   )
v.                                                 )       Civil No. 4:23-cv-13-JKW-DEM
                                                   )
NEWPORT NEWS SHIPBUILDING                          )
                                                   )
BAYPORT CREDIT UNION,                              )
         Defendant.                                )
                                                   )

                                             ORDER


         Upon consideration of the Notice of Settlement in Principle and (Unopposed) Motion to

Stay Deadlines (the                              e shown, it is hereby ORDERED that:

         1.     The Motion is GRANTED; and

         2.     The time for Defendant Bayport Credit Union to file its answer, motion or other

                                    stayed through June 7, 2023, pending submission and entry

of a d



         Dated: ___________


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